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APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT
Appellate Court No: 19-3325

Short Caption: A&C Construction & Installation CO. WLL v. Zurich Am. Ins. Co. and The Ins. Co. of the State of Pa.

To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party or
amicus curiae, or a private attorney representing a government party, must furnish a disclosure statement providing the
following information in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

The Court prefers that the disclosure statement be filed immediately following docketing; but, the disclosure statement must
be filed within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs
first. Attorneys are required to file an amended statement to reflect any material changes in the required information. The text
of the statement must also be included in front of the table of contents of the party's main brief. Counsel is required to
complete the entire statement and to use N/A for any information that is not applicable if this form is used.

[ ] PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED
AND INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1) The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the
corporate disclosure information required by Fed. R. App. P 26.1 by completing item #3):

A&C Construction & Installation CO. WLL

(2) The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings
in the district court or before an administrative agency) or are expected to appear for the party in this court:

K&L Gates LLP

(3) Ifthe party or amicus is a corporation:

i) Identify all its parent corporations, if any; and

Codem S.A.

ii) list any publicly held company that owns 10% or more of the party’s or amicus’ stock:

N/A

Attomey’s Signature: S/ Abram |. Moore Date. 11/26/2019

Attomey's Printed Name: Abram |. Moore

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d). Yes x No

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CERTIFICATE OF SERVICE

I, Abram I. Moore, certify that on November 26, 2019, I electronically filed
the foregoing with the Clerk of the Court for the United States Court of Appeals for
the Seventh Circuit by using the CM/ECF system.

Participants in the case who are registered CM/ECF users will be served by
the CM/ECF system.

I further certify that some of the participants are not CM/ECF users. I have
mailed the foregoing document by First-Class mail, postage prepaid, to the following
non-CM/ECF participants:

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